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 4
     Attorney for ZHEN SHU PANG,
 5   Defendant
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           ) No. CR.S-08-543-GEB
                                         )
12                    Plaintiff,         ) AMENDED REQUEST FOR ORDER AND
                                         ) ORDER EXONERATING BOND
13        v.                             )
                                         )
14   ZHEN SHU PANG,                      )
                                         )
15                    Defendant.         )
                                         )
16                                       )
17
18
19        On or about February 3, 2009, a $370,000.00 appearance bond,
20   secured by the San Francisco real property of Troy Thich Au and Sharon
21   Van Au, was posted on behalf of defendant Zhen Shu Pang in the within
22   matter.   On April 16, 2010, the defendant was sentenced to a period of
23   supervised release for a term of twelve months, to commence
24   immediately.
25        Accordingly, it is hereby requested that the $370,000.00 secured
26   appearance bond be exonerated and that the Clerk of this Court be
27   directed to reconvey back to the sureties/trustors that Deed of Trust
28   received by the Clerk on or about February 3, 2009.


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 1   Dated:     April 27, 2010                 Respectfully submitted,
 2
                                                /s/ Candace A. Fry
 3                                             CANDACE A. FRY, Attorney for
                                               ZHEN SHU PANG, Defendant
 4
 5
 6                                         O R D E R
 7        IT IS HEREBY ORDERED:
 8        1.      The appearance bond in the amount of $370,000.00 posted
 9   herein by Troy Thich Au and Sharon Van Au and secured by a Deed of
10   Trust to real property located in the City and County of San Francisco,
11   California, is hereby exonerated; and
12        2.     The Clerk of this Court forthwith shall provide a Deed of
13   Reconveyance of the San Francisco property securing the bond to the
14   sureties/trustors at the following mailing address: Troy Thich Au and
15   Sharon Van Au, 767 - 208th Street, Pasadena, Maryland            21122.
16   Dated:     April 27, 2010
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18                                        GARLAND E. BURRELL, JR.
19                                        United States District Judge

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